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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           Cr. No. 1:99cr90-TMH
                                               )                   [WO]
MICHAEL W. CLEMENTS                            )


                                         ORDER

       Before the court is Defendant Michael W. Clements’ “motion for modification of

sentence to run concurrent with state time (nunc pro tunc),” filed December 7, 2006. The

motion is due to be denied.

       On June 17, 2005, the court sentenced Defendant to fifteen months for violating

the terms of his supervised release by committing “another federal, state or local crime.”

(Judgment, entered June 17, 2005.) In the instant motion, Defendant states that, at the

time of sentencing on the violations of supervised release, state charges arising from the

same conduct which was the basis of the revocation of supervised release were pending

against him in state court. Defendant asserts that, three months after his sentence was

imposed in this case, he pleaded guilty to the state charges and received a fifteen-year

sentence. Defendant says that the state court ordered that the state sentence run

concurrently with this court’s previously-imposed sentence on the supervised release

violation charges. However, as the judgment entered by this court stands now, Defendant

states that he cannot begin service of his federal sentence until “he is either paroled to the
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federal detainer . . . or he completes his state sentence.” (Def. Mot. at 2.) Defendant,

thus, moves this court to modify or amend the June 17, 2005 judgment and order that the

sentence in this case run concurrent with his state sentence. Relatedly, Defendant

complains that the presence of the federal detainer forecloses his access to the state work

release program; thus, he requests that the federal detainer “be removed from his record.”

(Id. at 3.)

        Defendant’s reliance on 18 U.S.C. § 3582(c) as the statutory basis for his motion

is misplaced. 18 U.S.C. § 3582(c) concerns the modification of a sentence in limited

circumstances which clearly are inapplicable. Namely, § 3582(c) allows for a

modification of a defendant’s term of imprisonment only upon motion from the Bureau of

Prisons or when there has been a subsequent change in the United States Sentencing

Guidelines which would warrant a sentence reduction.

        The statute also provides that a court may modify a term of imprisonment if

expressly permitted by Rule 35 of the Federal Rules of Criminal Procedure, see 18 U.S.C.

§ 3582(c)(1)(B), but Rule 35 also provides no basis for relief for Defendant. Pursuant to

Rule 35(a) of the Federal Rules of Criminal Procedure, a district court has authority to

amend a sentence for clear error within seven days of imposing the sentence, but after

seven days, Rule 35(b) bestows authority upon the court to amend a sentence only upon

motion of the government to reflect a defendant’s substantial assistance. Obviously, the

relief requested by Defendant does not fall under the provisions of Rule 35. Seven days

have long passed since the imposition of the court’s sentence, and the government has not

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moved to reduce Defendant’s sentence based upon Defendant’s substantial assistance.

The court simply does not have the authority to modify a judgment which was entered

more than a year-and-a-half ago, as is the case here.

       Accordingly, it is CONSIDERED and ORDERED that Defendant’s “motion for

modification of sentence to run concurrent with state time (nunc pro tunc)” is hereby

DENIED.

       DONE this 8 th day of December, 2006.

                                   /s/ Truman M. Hobbs
                                   SENIOR UNITED STATES DISTRICT JUDGE




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